                       IN THE UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF IOWA


 In The Matter Of                                     Case No. 23-01443-lmj12

 UTHE FARMS, INC.
                                                      MOTION TO LIFT STAY
 Debtor.


       COMES NOW Creditor Terry Lehrman, by and through his attorney, and in support of this

Motion states the following to the Court:

       1.      On November 6, 2023, the Debtor, Uthe Farms, Inc., filed its Chapter 12

Bankruptcy Petition.

       2.      In the November 6, 2023 Chapter 12 Bankruptcy Petition, Debtor claims (1) its

property is not insured, (2) after administration costs there will be no funds available for

distribution to unsecured creditors, (3) the estimated assets of the Debtor are $1,000,000-

$10,000,000, (4) the estimated liabilities are $0-50,000, (5) and Terry Lehrman is listed as the only

creditor. Dkt. No. 1, Sections 12, 13, 15 & 16.

       3.      The debt owed by Uthe Farms, Inc. to Terry Lehrman stems from a Guaranty

executed by Uthe Farms, Inc. on or about August 18, 2017 securing a certain Promissory Note

executed by Thomas J. Uthe (the son of Thomas Uthe and Jodie Uthe – the purported

owners/shareholders/officers of Uthe Farms, Inc.) for the purchase of certain real property at

Sheriff’s Sale. A true and accurate copy of the guaranty is attached hereto as Exhibit A.

       4.      Uthe Farms, Inc. defaulted under the Guaranty and Terry Lehrman brought suit on

February 25, 2020 in Terry Lehrman v. Thomas J. Uthe, Uthe Farms, Inc., Thomas E. Uthe, Jodie




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L. Uthe and Austin Uthe, Case No. LACV033268 in the District Court in and for Lucas County,

Iowa.

        5.      Uthe Farms, Inc. (jointly and severally with Jodie Uthe and Thomas Uthe) executed

a confession of judgment in the amount of $475,000 plus costs. A true and accurate copy of said

Confession of Judgment is attached hereto as Exhibit B.

        6.      The Confession of Judgment was entered as a Judgment by the Court on December

21, 2022. Id.

        7.      Thomas Uthe and Jodie Uthe filed under Chapter 13 of the Bankruptcy Code on or

about February 9, 2023, In re Thomas E Uthe and Jodie L. Uthe, Case No. 23-00142-13, in this

Court. Thomas Uthe (and potentially Jodie Uthe) is believed to be an owner/shareholder of Uthe

Farms and he signed the above captioned Chapter 12 Petition as President of Uthe Farms, Inc.

        8.      Terry Lehrman filed a Proof of Claim for $487,818.68 in said case based upon the

joint and several Confession of Judgment executed by Thomas and Jodie Uthe. Proof of Claim

Registry No. 7.

        9.      Mr. Lehrman intends to file a Proof of Claim in the instant matter for the $475,000

judgment plus costs and interest.

        10.     In their Chapter 13 case, despite knowing that certain machinery, equipment, and

real estate was owned by Uthe Farms, Inc., and having testified as to the ownership of the

machinery and equipment by Uthe Farms, Thomas and Jodie Uthe’s first filed Schedule A/B

claimed $799,500 in farming machinery and equipment plus farm real estate valued at $120,000.

Case No. 23-00142-13, Dkt. No. 21, Sections 49 & 51; portions of Thomas Uthe’s deposition in

Case Nos. LACV033268 and EQCV033282 taken on June 4, 2021 is attached hereto as Exhibit C.

Schedule A/B did not include any ownership interest in Uthe Farms, Inc. Id. Section 37;




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       11.     Terry Lehrman filed an Objection to the Plan noting, in part, that Schedule A/B did

not provide evidence or support for the ownership of the claimed assets and did not include interest

in Uthe Farms, Inc., Case No. 23-00142-13, Dkt. No. 40.

       12.     In their Amended Plan/Schedules, Thomas and Jodie Uthe claimed interest in Uthe

Farms, Inc. and listing the real property as being owned by Uthe Farms, Inc. Case No. 23-00142-

13, Dkt. No. 46, Sections 37 & 44. However, despite knowing that the farming equipment was

owned by Uthe Farms, Inc., having testified under oath regarding same, they still listed such as

being owned by Thomas and Jodie Uthe. Id. Section 49.; Ex. C.

       13.     Terry Lehrman again filed an Objection to the Plan, noting issues with the Amended

Schedules and Plan. Case No. 23-00142-13, Dkt. No. 59.

       14.     Terry Lehrman requested relief from the bankruptcy stay to pursue collection

against Uthe Farms, Inc. despite Thomas and Jodie Uthe including the equipment owned by Uthe

Farms in their Plan/Schedules. Case No. 23-00142-13, Dkt. No. 52. The Honorable Judge Jackwig

entered a Minute Order stating no relief from stay was required because Uthe Farms, Inc. was not

a Debtor. Case No. 23-00142-13, Dkt. No. 66.

       15.     Thomas and Jodie Uthe attempted to convert their Chapter 13 case to a Chapter 12

case, which was objected to and ultimately denied. Case No. 23-00142-13, Dkt. Nos. 70, 72, 73 &

77.

       16.     The Chapter 13 case was dismissed on October 18, 2023, after Thomas and Jodie

Uthe failed to file a confirmable plan or the required payments to the Trustee. Case No. 23-00142-

13, Dkt. No. 81.




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       17.     Based upon the Minute Order by Judge Jackwig, Terry Lehrman sought and

obtained a Praecipe and General Execution on the judgment in Case No. LACV033268. The

Praecipe, General Execution, and Directions to Sheriff are attached hereto as Exhibit D.

       18.     The Lucas County Sheriff seized equipment owned by Uthe Farms, Inc. on or about

November 3, 2023, for the purpose of appraisal and sale at auction and currently is in possession

of same as custodian of the equipment. A list of the equipment seized by the Sheriff pursuant to

the General Execution is attached hereto as Exhibit E.

       19.     Terry Lehrman has advanced $20,000 to the Lucas County Sheriff for seizure and

execution of the Praecipe and General Execution.

       20.     The appraisal and sale have been put on hold because of the Debtor’s bankruptcy

filing on November 6, 2023.

       21.     Terry Lehrman is listed as the only creditor of Uthe Farms, Inc.

       22.     As evidenced by Debtor’s bankruptcy Petition, Debtor has no intent to provide

adequate protection to creditor Terry Lehrman. 11 USC § 1205.

       23.     Terry Lehrman will suffer irreparable injury, loss, and damage if he is not allowed

to proceed with the appraisal and sale of the equipment.

       24.     The Order sustaining this Motion should provide that it is effective immediately

upon entry and that the 14-day stay should not apply.

       25.     In the alternative, Terry Lehrman requests the Court order the turnover of the

equipment seized by the Lucas County Sheriff’s Office to the Trustee and not to Uthe Farms, Inc.

as Debtor in Possession given not only the lack of adequate protection under section 1205, but also

due to the dishonesty and incompetence of Thomas Uthe, the President and a shareholder of Uthe

Farms, Inc. See 11 USC §§ 542, 543, 704(a)(2), 1202, 1205.




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        26.     Terry Lehrman requests the Court order the Trustee to sell the equipment under

section 1206 of the Bankruptcy Code and that the proceeds of such sale be paid to Terry Lehrman.

        27.     Terry Lehrman requests the Court remove Uthe Farms, Inc. as Debtor in Possession

pursuant to section 1204 as it is clear that Thomas Uthe, President of Uthe Farms, has continually

been dishonest with this Court regarding bankruptcy assets/estates, income, and other matters. 11

U.S.C. § 1204; In re Kloubec, 247 B.R. 246, 258 (Bankr. N.D. Iowa 2000), aff'd, 268 B.R. 173

(N.D. Iowa 2001) (“Debtors must act in good faith and must deal honestly with the Court and with

their creditors.”); In re Rafter Seven Ranches, LP, No. 05-40483, 2009 WL 161317, at *5 (Bankr.

D. Kan. Jan. 8, 2009) (standard for removal is stringent and requires fraud, dishonesty,

incompetence or gross mismanagement of the affairs of the debtor before or after commencement

of the case).

        WHEREFORE, Mr. Lehrman requests that the automatic stay be lifted pursuant to

11 U.S.C. §§ 362(d)(1) and (d)(2) to permit Mr. Lehrman to pursue his rights and remedies against

the equipment held by the Lucas County Sheriff, including appraisal and sale at auction or, in the

alternative, that the Court order the equipment to be turned over to the Trustee for sale pursuant to

11 U.S.C. § 1206 and that Uthe Farms, Inc. be removed as a debtor in possession pursuant to 11

U.S.C. § 1204, and for such other and further relief as is just and equitable.


                                              Respectfully submitted,


                                              By: /s/ Allison M. Steuterman
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on November 20, 2023, a copy of the foregoing pleading was
electronically filed with the Clerk of Court. All parties of record registered with the EDMS filing
system will receive notification of such filing through EDMS. Parties of record not registered with
the EDMS filing system will be provided notification of this filing by U.S. Mail.


                                             By: /s/ Allison M. Steuterman




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